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                         IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

    F.V. and DANI MARTIN,                            )
                                                     )   Case No. 1:17-cv-000170-CWD
                            Plaintiffs,              )
    vs.                                              )   OPPOSITION TO PLAINTIFFS’
                                                     )   MOTION FOR CLARIFICATION OF
    DAVID JEPPESEN, in his official capacity as )        MARCH 5, 2018 ORDER (Dkt. 46)
    Director of the Idaho Department of Health       )
    and Welfare and ELKE SHAW-TULLOCH,               )
    in her official capacity as Administrator of the )
    Division of Public Health the Idaho              )
    Department of Health and Welfare, and            )
    JAMES AYDELOTTE, in his official                 )
    capacity as State Registrar and Chief of the     )
    Bureau of Vital Records and Health Statistics, )
                                                     )
                            Defendants.              )

                                         INTRODUCTION

          Plaintiffs ask the Court to issue an advisory opinion prejudging House Bill 5091 months

before it even becomes effective. And even when the law becomes effective, Plaintiffs will not


1
 65th Leg. (2020) (to be codified at Idaho Code §§ 39-240, 39-245A, and 39-279), text available
at: https://legislature.idaho.gov/wp-content/uploads/sessioninfo/2020/legislation/H0509.pdf
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have standing to challenge it. The law cannot injure them, because the Court’s injunction fully

remedied their harm. In essence, Plaintiffs seek an order to prevent hypothetical harm to

unknown persons in the future once House Bill 509 (“HB 509”) becomes effective. The Court

should reject this extraordinary request to ignore jurisdictional limits and deny Plaintiffs’ motion.

       Further, Plaintiffs improperly ask the Court to go outside the four corners of its

injunction. The Judgment [Dkt. 43] was not a categorical ban on all actions by all State actors, in

perpetuity, that would regulate amendments to birth certificates—it was a remedy, enforceable

against specific Defendants, to redress harm caused by a specific policy. Couching their request

as a motion for clarification, Plaintiffs wish to stretch the Court’s injunction to cover a potential

claim of unconstitutionality against a statute that was not in existence then—and which is still

not in effect today. A challenge to the constitutionality of HB 509 was not ripe when the

Judgment issued and is not ripe now. The Court should decline to issue such a “clarification”

because the scope of the injunction must be discerned within its four corners, not by reference to

what might satisfy Plaintiffs’ purposes. Inst. of Cetacean Research v. Sea Shepherd

Conservation Soc’y, No. C11-2043JLR, 2017 WL 1057644, at *2 (W.D. Wash. Mar. 17, 2017)

(quoting United States v. Armour & Co., 402 U.S. 673, 682 (1971)). Injunctive relief “must be

tailored to remedy the specific harm alleged.” Lamb-Weston, Inc. v. McCain Foods, Ltd., 941

F.2d 970, 974 (9th Cir. 1991) (citations omitted).

       Finally, HB 509 is entitled to a presumption of constitutionality which cannot be rebutted

until a proper complaint is filed challenging the statute.




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                                        BACKGROUND

       Prior to the Court’s March 5, 2018 Memorandum Decision and Order (Dkt. 28) [Dkt. 39]

(“2018 Order”), the Idaho Department of Health and Welfare’s Bureau of Vital Records and

Health Statistics (“Bureau”) had a policy of refusing to process applications from transgender

persons requesting that the “sex” designated on their birth certificate be changed. The Bureau

interpreted Idaho law in effect at the time to prohibit such changes.

       Idaho Code § 39-250 provided that birth certificates can be amended “only in accordance

with this chapter and rules promulgated by the board.” No statute or rule specifically

permitted amendment of the designated sex on a birth certificate. Idaho Code § 39-250(1)

required that an amended certificate must be marked “amended,” except as specifically provided

by statute. IDAPA 16.02.08.201.08.a (2017) provided that in case of an amendment, except

where specifically provided otherwise by law, the item number of the entry that was amended

must be identified, IDAPA 16.02.08.201.08.a.i (2017); and the amendment must be made by

drawing a line through the old information, without obliterating it, and inserting the new

information in an adjacent space. IDAPA 16.02.08.201.08.a.iii (2017).

       Defendants previously admitted that they were “aware of no rational basis justifying a

prohibition against changing the sex designation on the birth certificate of a transgender person

who has undergone clinically appropriate treatment to permanently change his or her sex.” (Dkt.

23 ¶ 5.) Defendants made this concession because they were aware of no legislative purpose or

policy behind such a prohibition. They merely interpreted existing law to prohibit changing the

sex designation because no law specifically authorized it.

       In its 2018 Order, the Court went further than Defendants’ concession that they were

aware of no rational basis supporting their policy. The Court ruled that Defendants’ policy in



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effect at the time—of automatically rejecting transgender persons’ applications to change the

“sex” designation on their birth certificates in a confidential manner—was subject to heightened

scrutiny. F.V. v. Barron, 286 F. Supp. 3d 1131, 1135 (D. Idaho 2018). The Court held that the

policy violated the Equal Protection Clause. Id. at 1145. Consequently, the Court permanently

enjoined Defendants “from practicing or enforcing the policy of automatically rejecting

applications from transgender people to change the sex listed on their birth certificates.” Id. at

1146 (emphasis added); Dkt. 43 ¶ 3 (emphasis added).

       In the time between the Court’s 2018 Order and the Judgment [Dkt. 43], the Idaho

Department of Health and Welfare (“IDHW”) adopted a temporary rule specifically addressing in

law, for the first time, amendments to the “sex” indicator on birth certificates. IDAPA

16.02.08.201.06 (2018). With this rule, the challenged policy was extinguished. A policy of

automatically denying transgender individuals’ applications, based on law that was silent as to

changes to the “sex” indicator on a birth certificate, could not coexist with new rules explicitly

allowing for changes to “sex” on one’s birth certificate. As required in the Court’s order,

Defendants abandoned the challenged policy in favor of a rule under which applications are

“reviewed and considered through a constitutionally-sound approval process,” and under which

amendments are not noted on the new birth certificate. Dkt. 43 ¶ 4.

       The rule as promulgated remains substantially the same to the present time. Defendants

accept and process requests to change the sex indicator on birth certificates as provided by

IDAPA 16.02.08.201.06 (2020). Defendants have not reintroduced the policy this Court found to

be unconstitutional, nor have they adopted any similar policy or practice. Defendants have

maintained strict compliance with the Judgment.




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        On March 18, 2020, the Legislature passed—and on March 30, 2020 the Governor signed

into law—HB 509, which provides that the sex marker on a birth certificate, along with other

“quantitative statistics and material facts,” may only be amended in two situations. HB 509

§ 2 (to be codified at Idaho Code § 39-245A(2)). First, the sex marker may be amended within

the first year if a mistake was made on the original and the medical professional who provided

the information attests to the mistake. Id. (to be codified at Idaho Code § 39-245A(4)). Second,

it may be amended after one year by court order on the basis of fraud, duress, or material mistake

of fact. Id. This statute goes into effect July 1, 2020. See 2020 Enacted Legislation, available

at: https://legislature.idaho.gov/sessioninfo/2020/law/. The statute applies to all individuals and

all birth certificates. The purpose is to further the State’s “compelling interest in maintaining

accurate, quantitative, biology-based material facts on Idaho certificates of birth that provide

material facts fundamental to the performance of government functions that secure the public

health and safety.” HB 509 § 2 (to be codified at Idaho Code § 39-245A(1)(a)(ix)). The statute

is drafted to avoid “the conflation of sex and gender” in vital statistics, to mitigate the risk of

unintended medical harm, and to aid medical research. Id. (to be codified at Idaho Code § 39-

245A(1)(a)(iv).2



2
  Plaintiffs’ Memorandum of Law in Support of Motion for Clarification of March 5, 2018 Order
[Dkt. 46-1] attempts to characterize the motivations of legislators in an effort to persuade the
Court to strike HB 509 under the guise of the injunction in this case. Dkt. 46-1 at 7-8. However,
neither legislators’ statements nor their alleged motivations can change the requirement that a
statute’s constitutionality may only be decided in the context of an actual case or controversy.
See United States v. O’Brien, 391 U.S. 367, 383-84 (1968) (“It is a familiar principal of
constitutional law that this Court will not strike down an otherwise constitutional statute on the
basis of an alleged illicit legislative motive. . . . Inquiries into congressional motives or
purposes are a hazardous matter. . . . What motivates one legislator to make a speech about a
statute is not necessarily what motivates scores of others to enact it, and the stakes are
sufficiently high for us to eschew guesswork.” (Footnote omitted.)); see also Palmer v.
Thompson, 403 U.S. 217, 224-25 (1971) (“[T]here is an element of futility in a judicial attempt
to invalidate a law because of the bad motives of its supporters. If the law is struck down for this
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       When HB 509 goes into effect, it will supersede IDAPA 16.02.08.201.06 (2020), which

in turn superseded the policy that motivated this lawsuit and which this Court found

unconstitutional—the policy the Judgment specifically targets and prohibits.

                                           ARGUMENT

A.     This Court Should Reject Plaintiffs’ Efforts to Use Its Injunction to Address Issues
       That are Not Ripe and for Which They Have No Standing.

       Plaintiffs urge the Court to expand the scope of the injunction to cover non-justiciable

issues, including issues that are not yet ripe and relief for which Plaintiffs have no standing to

seek. Asking the Court to declare that its injunction applies to HB 509 is asking the Court to

decide the law’s constitutionality outside of a case or controversy. But the case-or-controversy

requirement is jurisdictional, and both ripeness and standing are necessary components.

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342, 352 (2006). The case-or-controversy

limitation is essential to the constitutional separation of powers undergirding our system of

government. See Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville,

Fla., 508 U.S. 656, 663 (1993); Flast v. Cohen, 392 U.S. 83, 95 (1968) (explaining that the

words “cases” and “controversies” “define the role assigned to the judiciary in the tripartite

allocation of power to assure that the federal courts will not intrude into areas committed to the

other branches of government.); cf. New Orleans Water Works Co. v. City of New Orleans, 164

U.S. 471, 481 (1896) (“[A] court of equity cannot properly interfere with, or in advance restrain,

the discretion of a municipal body while it is in the exercise of powers that are legislative in their

character.” (Emphasis added.)).




reason, rather than because of its facial content or effect, it would presumably be valid as soon as
the legislature or relevant governing body repassed it for different reasons.”).
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        This Court recognized that it could not rule as to future actions, such as new administrative

rules, explaining, “[b]ecause the Court does not have a proposed rule before it, it will not

extrapolate on the potential legal ramifications of such restrictions—such topics are not ripe for its

consideration.” F.V., 286 F. Supp. 3d at 1141. If this sentiment applied to future administrative

rules promulgated by IDHW, it applies with greater force to future legislation passed by a

completely different governmental body.

        Ripeness requires a controversy that is definite and concrete, as opposed to hypothetical

or abstract. Wolfson v. Brammer, 616 F.3d 1045, 1058 (9th Cir. 2010) (citation omitted). When

the Court issued its Judgment, there was no definite and concrete controversy regarding a statute

that did not yet exist—and which even now is not yet in effect—and therefore a challenge to HB

509 could not have been ripe, and this Court could not have issued an order preemptively

invalidating it.

        Further, this Court cannot issue an injunction providing Plaintiffs relief for which they do

not have standing to seek. Standing ensures that legal questions will be resolved “not in the

rarified atmosphere of a debating society, but in a concrete factual context conducive to a

realistic appreciation of the consequences of judicial action.” Valley Forge Christian Coll. v.

Americans United for Separation of Church & State, Inc., 454 U.S. 464, 472 (1982). Standing

requires that the plaintiff suffer an injury in fact; that there be a causal connection between the

injury and the complained-of conduct; and that it is likely that the injury can be redressed by a

favorable court decision. Cent. Delta Water Agency v. United States, 306 F.3d 938, 946-47 (9th

Cir. 2002) (citations omitted). Standing is jurisdictional at each stage of litigation. Id. at 947. If

Plaintiffs had no standing to seek a certain remedy, then the Court was without jurisdiction to

provide it.



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       By filing this lawsuit, Plaintiffs sought relief from a policy that denied them the ability to

apply for a change to their birth certificates. This Court provided the remedy they sought: as a

consequence of the injunction, Defendants no longer employed the policy of automatically

denying applications. Plaintiffs had full opportunity to make use of the new procedures

established to allow them to change their birth certificates. And they had full opportunity to seek

redress if Defendants were not complying with the injunction in a way that allowed them to

apply for the desired change.

       In light of the relief the injunction afforded to Plaintiffs, HB 509 does not cause them an

injury. In fact, HB 509 does not currently prevent any Idahoan from seeking a change to a birth

certificate under IDAPA 16.02.08.201.06. No potential plaintiff could argue that it prevents them

from changing their birth certificate until it becomes effective in July. From the time IDHW

abandoned the challenged policy in 2018 as a result of the Court’s injunction until the effective

date of HB 509 in July 2020, there has been and cannot be a bona fide case or controversy.

Therefore, the injunction could not have extended to HB 509, and neither Plaintiffs nor any other

person has standing to challenge that law, which has not yet gone into effect.

B.     The Plain Language of the Injunction Applies Only to the Policy in Effect at the
       Time the Injunction was Entered.

       Defendants agree that the Court has discretion to clarify the scope of its injunction.

However, the scope of the injunction must be discerned from its four corners. Inst. of Cetacean

Research, 2017 WL 1057644, at *2 (quoting United States v. Armour & Co., 402 U.S. 673, 682

(1971)). The Judgment does not enjoin the Idaho Legislature from passing legislation to regulate

amendments to birth certificates, nor does it enjoin the Governor from signing a statute into law.

The injunction applies only to “Defendants and their officers, employees, and agents” and it




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enjoins only “the policy of automatically rejecting applications from transgender people to

change the sex listed on their birth certificates.” Dkt. 43 ¶ 3 (emphasis added).

       The Judgment requires that “[s]uch applications must be reviewed and considered

through a constitutionally sound approval process[.]” Id. ¶ 4. The order does not purport to

apply to any future administrative rule or legislation. This Court recognized in its 2018 Order

that such issues were not yet ripe. F.V., 286 F. Supp. at 1141. Paragraph 4, read in the context of

the entire Judgment, applies only to “the policy” found unconstitutional in paragraph 2—the

“policy” Defendants were enjoined from practicing or enforcing in paragraph 3. Nowhere within

the four corners of the injunction does it indicate that its scope goes beyond Defendants’ policy

and would be applicable to new legislation.

       Judge Posner highlighted this four-corners principle in Shepard v. Madigan, 734 F.3d 748

(7th Cir. 2013). After the Seventh Circuit Court of Appeals declared an Illinois gun control

statute unconstitutional, it allowed Illinois 210 days to pass new legislation to replace it. Id. at

749. The replacement statute provided for an additional 270-day delay in allowing the plaintiffs

to receive the permits to carry firearms to which they were entitled. Id. at 749-50. The plaintiffs

sought further relief from the court, aggrieved that the statute passed to replace the

unconstitutional statute further deprived them of the very constitutional rights vindicated by the

court’s order. Id. at 750.

       Judge Posner explained that the court could not address concerns regarding the new

statute without a new lawsuit to challenge it, even when the new statute, necessitated by the

Court’s order, clearly infringed upon the same rights that the previous statute had:

       [Plaintiffs’] gripe—the basis for the interim relief they’re seeking—is that the state
       is dragging its heels in bringing its new, concealed-carry law into line with our
       ruling. But to challenge this foot dragging, or anything else that they don’t like
       about the new law, the plaintiffs must file a new lawsuit challenging the new law

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       or the schedule for its implementation, and seek a preliminary injunction. . . . The
       appeal before us is not from a ruling in a new lawsuit. It is from the district court’s
       refusal to rule that until the new law becomes fully operational (on the 270th day
       after July 9 of this year), the Second Amendment entitles all Illinois residents who
       have a valid FOID card to carry a gun outside the home.

               That ruling by the district court would be actionable without a new lawsuit
       only if it violated our mandate. We remanded for the entry of declaratory and
       injunctive relief against the old law, but fixed no timetable for the implementation
       of a superseding law. Our opinion contains no explicit or implicit directive to make
       declaratory or injunctive relief against the operation of the old law immediate,
       without awaiting the enactment, let alone the implementation, of a new law—thus
       creating a regulatory gap. . . .

               . . . We said that the state could create a new law with reasonable restrictions.
       We did not specify them—that would have been premature. . . . We do not say that
       these [new] restrictions are permissible; that issue is not before us. We say only that
       our mandate did not forbid the state to impose greater restrictions on carrying a gun
       outside the home than existing Illinois law (in this respect materially unchanged by
       the Firearms Concealed Carry Act) imposes on possessing a gun in the home. . . .

                . . . [W]hile our mandate set a deadline for the enactment of a statute that
       would replace the statute that we were invalidating, we neither set a deadline for
       full implementation of the replacement statute by the grant of concealed-carry
       licenses to qualified applicants under the new statute nor prescribed a regulatory
       regime for the interim period. Deciding those matters was therefore left to the State
       of Illinois in the first instance. What the state has done about the interim regime for
       concealed carry may be good or bad, constitutional or unconstitutional, but it is not
       a violation of our mandate.

                We do not mean to belittle the plaintiffs’ complaint about delays built into
       the new law. But if they don’t like the new law, and wish to invalidate it, they must
       bring a new suit. Their only basis for complaining about the district court’s refusal
       to enjoin the old law immediately—and thus allow them (if they have a FOID card)
       to start carrying guns in public without complying with the new law—is that we
       ordered it and therefore the district court has violated our order. That is incorrect.
       We made no order regarding relief except to specify a deadline for the state to enact
       a new law. It met the deadline. Thus the district court did not violate our mandate
       and so there is no basis for the relief that the plaintiffs sought.

Id. at 751-52.

       The court in Shepard recognized it could not extend its prior order beyond what it

mandated. It also recognized that it was legally improper to rule on the constitutionality of a



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statute unless a complaint had been filed challenging its constitutionality. However, in the

present case, Plaintiffs ask this Court to do exactly that: to extend its injunction beyond its four

corners and determine the constitutionality of a newly passed statute without Plaintiffs filing a

new complaint. However, the scope of the injunction does not extend farther than its four

corners. It applies only to Defendants’ former policy, not to HB 509.

       The case upon which Plaintiffs rely, One Wisconsin Institute, Inc. v. Thomsen, 351 F.

Supp. 3d 1160 (W.D. Wis. 2019), is distinguishable. In Thomsen, the court enjoined “state-

imposed limits on the time for in-person absentee voting” and then applied that injunction to a

new law that made what the court concluded was immaterial changes to the old law. Id. at 1161,

1162. The Wisconsin law, though, was one that could cause recurring harm, because it dealt

with absentee ballot procedures. The plaintiffs harmed by the first challenged law could be

harmed again by a new law in a subsequent election. The present case is fundamentally

different. This Court’s injunction completely remedied Plaintiffs’ asserted injury by allowing

them to change their birth certificates, which they presumably did. HB 509 does not harm them

and consequently they do not have standing to assert that the injunction in this case should

extend to the new law.

       In addition to Plaintiffs’ lack of standing to challenge HB 509, the new law is

fundamentally and materially different from the challenged policy—the two cannot be packaged

together as one and the same. First, and most obviously, the policy the Judgment enjoined was a

practice created by Defendants, who operate in the executive branch of State government, while

HB 509 is a statute passed by the Legislature, a completely separate branch of government. The

actions of two separate branches of government cannot be summarily equated—each branch

operates independently with separate duties and constraints. See Regal Knitwear Co. v. N.L.R.B.,



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324 U.S. 9, 13 (1945) (citations omitted) (“The courts, nevertheless, may not grant an

enforcement order or injunction so broad as to make punishable the conduct of persons who act

independently and whose rights have not been adjudged according to law.”).

       Second, while the policy the Judgment enjoined reflected Defendants’ efforts to apply

law that did not specifically address changing the sex indicator on a birth certificate, HB 509 sets

forth the underlying law going forward, and it is a result of a deliberative political process by the

directly-elected representatives of the citizens of Idaho.

       To stretch the injunction to cover future legislation like HB 509 would be to interfere

with the legislative process without establishing justiciability and jurisdiction, and without so

much as taking evidence on whether the new statute is constitutional. Further, this legislation

was signed into law years after the Judgment issued, meaning that Plaintiffs are asking the Court

to interpret its order to cover future legislation. The implication of such an interpretation is that

the Legislature would perpetually be required to do its work under the supervision of the Court,

which would essentially hold a veto power over legislation by means of its contempt powers.

C.     HB 509 is Entitled to the Presumption of Constitutionality Unless it is Invalidated
       Through a Full Adjudication.

       By asking this Court to rule that its injunction applies to HB 509, Plaintiffs are asking the

Court to invalidate the Bill without the opportunity to fully adjudicate the question of its

constitutionality. See Dkt. 46-2 at 9 (“Clarification may thus prevent enjoined conduct from

occurring at all, thereby obviating the need for a court to adjudicate contempt proceedings.”).

However, “State statutes, like federal ones, are entitled to the presumption of constitutionality

until their invalidity is judicially declared.” Davies Warehouse Co. v. Bowles, 321 U.S. 144, 153

(1944); accord State v. Reed, 686 P.2d 842, 844 (Idaho Ct. App. 1984).




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       Following this principle, the Ohio Supreme Court in City of Toledo v. State, 110 N.E.3d

1257 (Ohio 2018), held that the plaintiff would need to file a new lawsuit in order to challenge a

statute passed in seeming defiance of a court order invalidating a different statute. After an Ohio

court declared as unconstitutional several portions of a statute regulating the use of traffic cameras

by local governments, the Ohio General Assembly passed a bill predicating funding to

municipalities on their compliance with the unconstitutional provisions. Id. at 1260. The plaintiff

argued that

       the General Assembly was bound by the injunction and violated the prohibition
       against enforcing the traffic-camera regulations by imposing an economic penalty
       on the municipalities that fail to comply with them. It contends that the city was not
       required to file a separate action to specifically challenge the constitutionality of
       H.B. 64, because the trial court had continuing jurisdiction to enforce the injunction
       and the new enactment incorporated statutes that the court had declared
       unconstitutional. . . . “Instead of enacting new legislation to replace the
       unconstitutional regulation of automated-traffic cameras, it doubled down, by
       passing legislation that enforces the existing laws.”

Id. at 1262. The court explained that a statute is entitled to a strong presumption of

constitutionality, and the plaintiff bears the burden to prove its unconstitutionality. Id. at 1262-

63. The court explained further that a constitutional challenge requires the plaintiff to file a

complaint to invoke the court’s jurisdiction over the case. Id. at 1263. Because no complaint

was filed, the court could not enjoin enforcement of the new statute. Id. at 1263.

       Just as is the case under Ohio law, a plaintiff in federal court must file a sufficient

complaint before a federal court may exercise jurisdiction. See Leite v. Crane Co., 749 F.3d

1117, 1121 (9th Cir. 2014) (citations omitted) (“To invoke a federal court’s subject-matter

jurisdiction, a plaintiff needs to provide only ‘a short and plain statement of the grounds for the

court’s jurisdiction.’ The plaintiff must allege facts, not mere legal conclusions, in compliance

with the pleading standards established by Bell Atlantic Corp. v. Twombly . . . and Ashcroft v.



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Iqbal[.]”); P. K. Family Rest. v. IRS, 535 F. Supp. 1223, 1224 (N.D. Ohio 1982) (“Absent a

complaint, this Court lacks jurisdiction to entertain plaintiff’s petition for injunctive relief.”); In

re Mkt. Basket, Inc., 122 F. Supp. 321, 322 (W.D. Mo. 1954) (citation omitted) (“Until an action

has been commenced in this court, obviously, it has no jurisdiction to act.”); Fed. R. Civ. P. 3.

        The present case shares similarities with City of Toledo, in that Plaintiffs argue that the

Idaho Legislature passed HB 509 in defiance of the Court’s injunction against Defendants.

Despite this, as the Ohio Supreme Court persuasively explained, a statute is entitled to a

presumption of constitutionality, and a complaint is required before a court can exercise

jurisdiction over a challenge to that constitutionality. 110 N.E.3d at 1263.

        This case goes farther than City of Toledo, however. The plaintiff in City of Toledo

challenged a statute, which was declared unconstitutional and replaced with another questionable

statute. See id. at 1260-61. In the present case, Plaintiffs challenged an Executive agency policy,

which was abandoned and superseded by an administrative rule that completely remedied

Plaintiffs’ asserted injury. That rule will be superseded by HB 509, but not until July 2020.

Unless and until that new law goes into effect, is challenged by a plaintiff with standing, and is

adjudged by a court, HB 509 is entitled to a presumption of constitutionality.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs’ motion to clarify should be denied.

        Dated this 1st day of May, 2020.


                                                       STATE OF IDAHO
                                                       OFFICE OF THE ATTORNEY GENERAL


                                                 By:    /s/ Steven L. Olsen
                                                       STEVEN L. OLSEN
                                                       Deputy Attorney General


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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 1st day of May, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing
to the following Persons:

Monica G. Cockerille
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OPPOSITION TO PLAINTIFFS’ MOTION FOR CLARIFICATION
OF MARCH 5, 2018 ORDER (Dkt. 46) - 15
